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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :      Case No. 21-mj-33
               v.                            :
                                             :
PETER HARDING,                               :
                                             :
                       Defendant.            :

                                NOTICE OF WITHDRAWAL

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, informs the Court and counsel that Assistant United States Attorney

Stuart Allen, as counsel for the United States, is terminating his appearance as counsel of record

in this matter. All other government counsel noted on the docket at the time of this filing will

remain counsel for the United States.

                                             Respectfully submitted,

                                             MATTHEW M. GRAVES
                                             United States Attorney
                                             D.C. Bar Number 481052

                                             By: _/s/ Stuart Allen_______________________
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Dated: March 9, 2023
